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 9
                        UNITED STATES DISTRICT COURT
10
                       CENTRAL DISTRICT OF CALIFORNIA
11
                                           )    Case No:
12
     DENISE MENICHIELLO, individually )
13   and on behalf of all others similarly )    CLASS ACTION
14   situated,                             )
                                           )    FIRST AMENDED COMPLAINT
15   Plaintiff,                            )    FOR VIOLATIONS OF:
16                                         )
            vs.                            )        1.     NEGLIGENT VIOLATIONS
17                                                         OF THE TELEPHONE
                                           )               CONSUMER PROTECTION
18   GNRG, INC., and DOES 1 through 10, )                  ACT [47 U.S.C. §227 et seq.]
     inclusive, and each of them,          )        2.     WILLFUL VIOLATIONS
19                                                         OF THE TELEPHONE
                                           )               CONSUMER PROTECTION
20   Defendant.                            )               ACT [47 U.S.C. §227 et seq.]
21                                         )
                                           )
22                                              DEMAND FOR JURY TRIAL
                                           )
23                                         )
24
                                           )
                                           )
25                                         )
26         Plaintiff DENISE MENICHIELLO (“Plaintiff”), individually and on behalf
27   of all others similarly situated, alleges the following upon information and belief
28   based upon personal knowledge:


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 1                               NATURE OF THE CASE
 2         1.      Plaintiff brings this action individually and on behalf of all others
 3   similarly situated seeking damages and any other available legal or equitable
 4   remedies resulting from the illegal actions of GNRG, INC. (“Defendant”), in
 5   negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff’s home
 6   telephone in violation of the Telephone Consumer Protection Act, 47. U.S.C. § 227
 7   et seq. (“TCPA”) and related regulations, specifically the National Do-Not-Call
 8   provisions, thereby invading Plaintiff’s privacy.
 9                              JURISDICTION & VENUE
10         2.      Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
11   a resident of California, seeks relief on behalf of a Class, which will result in at
12   least one class member belonging to a different state than that of Defendant, a
13   California company. Plaintiff also seeks up to $1,500.00 in damages for each call
14   in violation of the TCPA, which, when aggregated among a proposed class in the
15   thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
16   Therefore, both diversity jurisdiction and the damages threshold under the Class
17   Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
18         3.      Venue is proper in the United States District Court for the Central
19   District of California pursuant to 28 U.S.C. § 1391(b)(2) because Defendant does
20   business within the State of California and Plaintiff resides within the County of
21   Orange.
22                                        PARTIES
23         4.      Plaintiff, DENISE MENICHIELLO (“Plaintiff”), is a natural person
24   residing in Huntington Beach, California and is a “person” as defined by 47 U.S.C.
25   § 153 (39).
26         5.      Defendant, GNRG, INC. (“Defendant”) is a home energy company,
27   and is a “person” as defined by 47 U.S.C. § 153 (39).
28         6.      The above named Defendant, and its subsidiaries and agents, are


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 1   collectively referred to as “Defendants.” The true names and capacities of the
 2   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 3   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 4   names. Each of the Defendants designated herein as a DOE is legally responsible
 5   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 6   Complaint to reflect the true names and capacities of the DOE Defendants when
 7   such identities become known.
 8         7.     Plaintiff is informed and believes that at all relevant times, each and
 9   every Defendant was acting as an agent and/or employee of each of the other
10   Defendants and was acting within the course and scope of said agency and/or
11   employment with the full knowledge and consent of each of the other Defendants.
12   Plaintiff is informed and believes that each of the acts and/or omissions complained
13   of herein was made known to, and ratified by, each of the other Defendants.
14                             FACTUAL ALLEGATIONS
15         8.     Beginning in or around January of 2017, Defendant contacted Plaintiff
16   on Plaintiff’s home telephone number ending in -4272, in an attempt to solicit
17   Plaintiff to purchase Defendant’s services.
18         9.     Plaintiff’s home telephone number ending in -4272 was added to the
19   National Do-Not-Call Registry on or about July 11, 2003.
20         10.    Defendant contacted or attempted to contact Plaintiff from telephone
21   numbers including (310) 757-8676 with a call-back number, (888) 253-4674.
22         11.    Defendant’s calls constituted calls that were not for emergency
23   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
24         12.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
25   64.1200(c)(2), as they were an attempt to promote or sell Defendant’s services.
26         13.    Plaintiff has received numerous solicitation calls from Defendant
27   within a 12-month period.
28         14.    Plaintiff did not have an established business relationship with


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 1   Defendant during the time of the solicitation calls from Defendant.
 2         15.    Plaintiff did not give Defendant prior express written consent for
 3   Defendant to call Plaintiff’s home telephone for marketing or solicitation purposes.
 4         16.    Despite this, Defendant continued to call Plaintiff in an attempt to
 5   solicit its services and in violation of the National Do-Not-Call provisions of the
 6   TCPA thus violating Plaintiff’s privacy.
 7         17.    Upon information and belief, at all relevant times, Defendant failed to
 8   establish and implement reasonable practices and procedures to effectively prevent
 9   telephone solicitations in violation of the regulations prescribed under 47 U.S.C. §
10   227(c)(5).
11                               CLASS ALLEGATIONS
12         18.    The class concerning the National Do-Not-Call violation (hereafter
13   “The DNC Class”) is defined as follows:
14
                  All persons within the United States registered on the National
15         Do-Not-Call Registry for at least 30 days, who had not granted
16         Defendant prior express consent nor had a prior established business
           relationship, who received more than one call made by or on behalf of
17
           Defendant that promoted Defendant’s products or services, within any
18         twelve-month period, within four years prior to the filing of the
19
           complaint.

20
           19.    Plaintiff represents, and is a member of, The DNC Class, consisting
21
     of all persons within the United States registered on the National Do-Not-Call
22
     Registry for at least 30 days, who had not granted Defendant prior express consent
23
     nor had a prior established business relationship, who received more than one call
24
     made by or on behalf of Defendant that promoted Defendant’s products or services,
25
     within any twelve-month period, within four years prior to the filing of the
26
     complaint.
27
           20.    Defendant, its employees and agents are excluded from The Class.
28
     Plaintiff does not know the number of members in The Class, but believes the Class


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 1   members number in the thousands, if not more. Thus, this matter should be
 2   certified as a Class Action to assist in the expeditious litigation of the matter.
 3         21.    The Class is so numerous that the individual joinder of all of its
 4   members is impractical. While the exact number and identities of The Class
 5   members are unknown to Plaintiff at this time and can only be ascertained through
 6   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
 7   The Class includes thousands of members.           Plaintiff alleges that The Class
 8   members may be ascertained by the records maintained by Defendant.
 9         22.    Plaintiff and members of The DNC Class were harmed by the acts of
10   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
11   and DNC Class members via their telephones for solicitation purposes, thereby
12   invading the privacy of said Plaintiff and the DNC Class members whose telephone
13   numbers were on the National Do-Not-Call Registry. Plaintiff and the DNC Class
14   members were damaged thereby.
15         23.    Common questions of fact and law exist as to all members of The
16   DNC Class which predominate over any questions affecting only individual
17   members of The DNC Class. These common legal and factual questions, which do
18   not vary between DNC Class members, and which may be determined without
19   reference to the individual circumstances of any DNC Class members, include, but
20   are not limited to, the following:
21                a.     Whether, within the four years prior to the filing of this
22                       Complaint, Defendant or its agents placed more than one
23                       solicitation call to the members of the DNC Class whose
24                       telephone numbers were on the National Do-Not-Call Registry
25                       and who had not granted prior express consent to Defendant and
26                       did not have an established business relationship with
27                       Defendant;
28                b.     Whether Defendant obtained prior express written consent to


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 1                       place solicitation calls to Plaintiff or the DNC Class members’
 2                       telephones;
 3                c.     Whether Plaintiff and the DNC Class member were damaged
 4                       thereby, and the extent of damages for such violation; and
 5                d.     Whether Defendant and its agents should be enjoined from
 6                       engaging in such conduct in the future.
 7         24.    As a person that received solicitation calls from Defendant within a
 8   12-month period, who had not granted Defendant prior express consent and did not
 9   have an established business relationship with Defendant, Plaintiff is asserting
10   claims that are typical of the DNC Class.
11         25.    Plaintiff will fairly and adequately protect the interests of the members
12   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
13   class actions.
14         26.    A class action is superior to other available methods of fair and
15   efficient adjudication of this controversy, since individual litigation of the claims
16   of all Class members is impracticable. Even if every Class member could afford
17   individual litigation, the court system could not. It would be unduly burdensome
18   to the courts in which individual litigation of numerous issues would proceed.
19   Individualized litigation would also present the potential for varying, inconsistent,
20   or contradictory judgments and would magnify the delay and expense to all parties
21   and to the court system resulting from multiple trials of the same complex factual
22   issues. By contrast, the conduct of this action as a class action presents fewer
23   management difficulties, conserves the resources of the parties and of the court
24   system, and protects the rights of each Class member.
25         27.    The prosecution of separate actions by individual Class members
26   would create a risk of adjudications with respect to them that would, as a practical
27   matter, be dispositive of the interests of the other Class members not parties to such
28   adjudications or that would substantially impair or impede the ability of such non-


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 1   party Class members to protect their interests.
 2         28.    Defendant has acted or refused to act in respects generally applicable
 3   to The Class, thereby making appropriate final and injunctive relief with regard to
 4   the members of the Class as a whole.
 5                             FIRST CAUSE OF ACTION
 6          Negligent Violations of the Telephone Consumer Protection Act
 7                                   47 U.S.C. §227(c)
 8                              On Behalf of the DNC Class
 9         29.    Plaintiff repeats and incorporates by reference into this cause of action
10   the allegations set forth above at Paragraphs 1-28.
11         30.    The foregoing acts and omissions of Defendant constitute numerous
12   and multiple negligent violations of the TCPA, including but not limited to each
13   and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
14   47 U.S.C. § 227 (c)(5).
15         31.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c),
16   Plaintiff and the DNC Class Members are entitled an award of $500.00 in statutory
17   damages, for each and every violation, pursuant to 47 U.S.C. § 227(c)(5)(B).
18         32.    Plaintiff and the DNC Class members are also entitled to and seek
19   injunctive relief prohibiting such conduct in the future.
20                             SECOND CAUSE OF ACTION
21    Knowing and/or Willful Violations of the Telephone Consumer Protection
22                                           Act
23                                 47 U.S.C. §227 et seq.
24                              On Behalf of the DNC Class
25         33.    Plaintiff repeats and incorporates by reference into this cause of action
26   the allegations set forth above at Paragraphs 1-28.
27         34.    The foregoing acts and omissions of Defendant constitute numerous
28   and multiple knowing and/or willful violations of the TCPA, including but not


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 1   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
 2   in particular 47 U.S.C. § 227 (c)(5).
 3         35.      As a result of Defendant’s knowing and/or willful violations of 47
 4   U.S.C. § 227(c), Plaintiff and the DNC Class members are entitled an award of
 5   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
 6   § 227(c)(5).
 7         36.      Plaintiff and the DNC Class members are also entitled to and seek
 8   injunctive relief prohibiting such conduct in the future.
 9                                 PRAYER FOR RELIEF
10   WHEREFORE, Plaintiff requests judgment against Defendant for the following:
11                              FIRST CAUSE OF ACTION
12          Negligent Violations of the Telephone Consumer Protection Act
13                                    47 U.S.C. §227(c)
14                As a result of Defendant’s negligent violations of 47 U.S.C.
15                  §227(c)(5), Plaintiff and the DNC Class members are entitled to and
16                  request $500 in statutory damages, for each and every violation,
17                  pursuant to 47 U.S.C. 227(c)(5).
18                Any and all other relief that the Court deems just and proper.
19                            SECOND CAUSE OF ACTION
20    Knowing and/or Willful Violations of the Telephone Consumer Protection
21                                            Act
22                                    47 U.S.C. §227(c)
23                As a result of Defendant’s willful and/or knowing violations of 47
24                  U.S.C. §227(c)(5), Plaintiff and the DNC Class members are entitled
25                  to and request treble damages, as provided by statute, up to $1,500,
26                  for each and every violation, pursuant to 47 U.S.C. §227(c)(5).
27                Any and all other relief that the Court deems just and proper.
28



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 1                                      JURY TRIAL
 2         37.    Pursuant to the Seventh Amendment to the Constitution of the United
 3   States of America, Plaintiff is entitled to, and demands, a trial by jury.
 4
 5         Respectfully Submitted this 21st Day of March, 2017.
 6                              LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 7
                                       By: /s/ Todd M. Friedman
 8
                                           Todd M. Friedman
 9                                         Law Offices of Todd M. Friedman
10
                                           Attorney for Plaintiff

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